                       Case 2:17-cv-00134-LGW-BWC Document 27 Filed 03/28/19 Page 1 of 1
          AO 456 (Rev. 5/85) Notice



                                      United States District Court
                                                Southern District of Georgia
           USA


                                                                                                 NOTICE

                                           v.
           1.432, MORE OR LESS, LOCATED IN MCINTOSH
           COUNTY, STATE OF GEORGIA; ESTATES OF ELLIS
           ROZIER AND MAHALIE ROZIER, BOTH LATE OF                          CASE NUMBER:           CV217-134
           MCINTOSH COUNTY, DECEASED, et al


          TYPE OF CASE:                         ✘ CIVIL                              CRIMINAL

            ✘     TAKE NOTICE that a proceeding in this case has been set for the place date, and time set forth below:

          PLACE                                                               ROOM NO.
                   Federal Courthouse                                                         Courtroom 1
                   801 Gloucester Street
                   Brunswick, GA                                              DATE AND TIME
                                                                                              05/07/2019 at 2:30 pm
          TYPE OF PROCEEDING

           Hearing on just compensation




                  TAKE NOTICE that a proceeding in this case has been continued as indicated below:

          PLACE                                 DATE AND TIME PREVIOUSLY SCHEDULED               CONTINUED TO, DATE AND TIME




                                                                              Scott L. Poff
                                                                             U.S. MAGISTRATE JUDGE OR CLERK OF COURT


           03/28/2019                                                         s/ Whitney Sharp
          DATE                                                               (BY) DEPUTY CLERK

                                                                             Phone No. 912-658-6667
          To
                  Via NEF:                                                   Via certified mail:
                  Anthony Conley Gentner                                     Kelli Rozier Mock
                  Daniel William Kastner                                     Harold Toups
                  Shannon Heath Statkus                                      Gilbert Rozier
                  Bhavna Changrani                                           William Rozier
                                                                             Alona Rozier
                                                                             Ruth Rozier Heath
                                                                             McIntosh County Tax Commissioner
                                                                             Kim Allen Rozier


GAS Rev 2/5/02
